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                             Exhibit B
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                               DECLARATION OF ALAN BUTLER

  I, Alan Butler, declare as follows:

     1. My name is Alan Butler. I am over 18 years old. The information in this declaration is

         based on my personal knowledge.

     2. I am the President and Executive Director of the Electronic Privacy Information Center

         (EPIC).

     3. EPIC is a non-profit, public interest research center established in 1994 to focus public

         attention on emerging privacy and civil liberties issues. EPIC’s mission is to secure the

         fundamental right to privacy in the digital age for all people through advocacy, research,

         and litigation. Central to EPIC’s mission is oversight of government activities that impact

         individual privacy, free expression, and democratic values.

     4. EPIC is a membership organization. EPIC v. U.S. Dep’t of Commerce, 928 F.3d 95, 101

         (D.C. Cir. 2019).

     5. Under EPIC’s bylaws, a person is a member of EPIC if they contribute to the

         advancement of the mission of EPIC, act in accordance with the core values and policies

         of EPIC, and are recognized and registered as a member by EPIC by virtue of payment of

         annual dues or having been granted a dues waiver.

     6. The EPIC Advisory Board consists of a select group of EPIC members, each selected by

         a vote of the Board, who are distinguished experts in law, technology, or public policy.

         Advisory Board Members provide guidance for EPIC’s work, participate in EPIC’s

         activities, offer support for EPIC, provide expertise to EPIC, and may serve on the EPIC

         Board of Directors.

     7. David Brody, Leonard J. Kennedy, and Bruce Schneier are known to me and to EPIC as

         both members of EPIC and members of the EPIC Advisory Board.


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     8. David Brody, Leonard J. Kennedy, and Bruce Schneier have attested that their personal

        information, including tax return information, is stored in the payment systems of the

        U.S. Department of Treasury’s Bureau of the Fiscal Service (BFS).

     9. David Brody, Leonard J. Kennedy, and Bruce Schneier have attested that they understood

        and expected that the federal government would keep their personal information

        contained in BFS payment systems private and confidential.

     10. David Brody, Leonard J. Kennedy, and Bruce Schneier have attested that they understood

        and expected that the federal government would adhere to all applicable laws,

        regulations, and policies protecting the privacy, confidentiality, and security of their

        personal information contained in BFS payment systems.

     11. David Brody, Leonard J. Kennedy, and Bruce Schneier have attested that the unlawful

        breach, disclosure, and accessing of their personal information contained in BFS payment

        systems has caused them, and continues to cause them, significant fear about the misuse

        of their information by those who have accessed it, significant fear about the increased

        vulnerability of their personal information to further theft, and significant fear about the

        increased risk of identity theft.

     12. In addition to David Brody, Leonard J. Kennedy, and Bruce Schneier, there are many

        other members of EPIC who could attest similarly.

     13. Like EPIC’s members, EPIC as an organization understood and expected that the federal

        government would keep personal information contained in BFS payment systems private

        and confidential. This understanding and expectation were based on legal protections

        such as the Privacy Act, the Federal Information Security Modernization Act, and section




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        6103 of the Internal Revenue Code as well as government representations including the

        Taxpayer Bill of Rights.

     14. Like EPIC’s members, EPIC as an organization understood and expected that the federal

        government would adhere to all applicable laws, regulations, and policies protecting the

        privacy, confidentiality, and security of personal information contained in BFS payment

        systems. This understanding and expectation were based on legal protections such as the

        Privacy Act, the Federal Information Security Modernization Act, and section 6103 of the

        Internal Revenue Code as well as government representations including the Taxpayer Bill

        of Rights.

     15. The unlawful breach, disclosure, and accessing by Defendants of personal information,

        including Social Security numbers, banking information, information about the amount of

        taxes paid or returned, and other information contained in BFS payment systems,

        substantially hinders EPIC’s mission of securing the fundamental right to privacy in the

        digital age for all people and ensuring oversight of government activities that impact

        individual privacy, free expression, and democratic values.

     16. The unlawful breach, disclosure, and accessing by Defendants of personal information

        contained in BFS payment systems has forced EPIC to expend significant organizational

        resources to counteract such unlawful conduct, including but not limited to extensive

        staff time spent on advocacy, research, public education, and litigation. This expenditure

        of staff time has required diversion of staff time from other work in the service of EPIC’s

        mission.




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                       APPLICATION AND OATH FOR ADMISSION
                  U. S. COURT OF APPEALS FOR THE FIFTH CIRCUIT
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    I declare under penalty of perjury that, to the best of my knowledge, the foregoing is true and
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                                                         Alan Jay Butler
    Executed on February 12, 2025
 OATH (OR AFFIRMATION): I, BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                       do solemnly swear (or affirm) that I will
 conduct myself as an attorney and counselor of this court, uprightly and according to law; and that I will support the Constitution of the
 United States. I further swear (or affirm) all LQIRUPDWLRQ     SURYLGHG  IRUSXUSRVHV DGPLVVLRQ
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 my knowledge, information and belief.

                05/27/2020
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   As REQUIRED by Federal Rule of Appellate Procedure 46(a)(3), please have a current member of our bar complete the portion
   below:



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